  Case 2:23-sw-00515-cgc Document 1-3 Filed 12/20/23 Page 1 of 17                   PageID 6



                          IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TENNESSEE

 STATE OF TENNESSEE
                                                     Case No   23-SW-515
 COUNTYOF SHELBY

                                         ATTACHMENT C

                        AFFIDAVIT IN SUPPORTOF SEARCH WARRANT

        I, Keyotta Sanford, a SpecialAgent with the FederalBureauof Investigation(FBI),

being duly sworn, hereby deposeand state as follows:

                          INTRODUCTION AND AGENT BACKGROUND

        1.      1am a Special Agent with the FBI assignedto the Memphis Division and have been

a Special Agent since January 2019. 1 am currently assignedto the Child Exploitation & Human

Trafficking Task Force, investigating matters involving the sexual exploitation of children, human

trafficking, and child sexual abuse material (CSAM). I have participated in various trainings and

investigations involving online and computer related offenses and have executed numerous search

warrants, including those involving searches and seizure of computers, digital media and

electronically stored information.

       2.      1 make this affidavit in support of an application for a search warrant for

information associated with a certain Google accounts associated with the identifier,

"jarrodsanford81@gmail.com"          and “jarrod81sanford@gmail.com”    that is stored at premises

controlled by Google LLC (“Google”), which is an electronic communications and remote

computing service provider headquarteredat 1600 Amphitheatre Parkway, Mountain View, CA

94043. The information to be searchedis describedin the following paragraphsand in

Attachment A. This affidavit is madein supportof an applicationfor a searchwarrant under18

U.S.C. § 2251(a) (production of child pornography) and 18 U.S.C. §§ 2252A(a)(5)(B) and (b)(2)

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    Case 2:23-sw-00515-cgc Document 1-3 Filed 12/20/23 Page 2 of 17                        PageID 7



(possessIon of and access wrth rntent to vrew ChIld pornography) to requIre Google to drsclose to

the governmentcopies of the information (including the content of communications)further

described in Section I of Attachment B. Upon receipt of the information described in Section I

of Attachment B, government-authorized persons will review that information to locate the items

described in Section II of Attachment B.

             3.   The statements in this affidavit are based in part on information provided by other

sworn law enforcementofficers participating in this investigation, through observationsand

conversations of your affiant personally, and through other sources specifically named in this

affidavit. Since this affidavit is being submittedfor the limited purposeof securinga search

warrant, I have not included each and every fact known to me concerning this investigation. I have

set forth only the facts that I believe are necessaryto establish probable causeto believe that

evidence in violation of 18 U.S.C. § 2251(a) and 18 U.S.C. §§ 2252A(a)(5)(B) and (b)(2) will be

located at the premises described in Attachment A, and that evidence will be in the form of the

items listed in Attachment B, both of which are incorporatedby referenceas if fully set forth

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                                       STATUTORYAUTHORITY

             4.   18 U.S.C. §§ 2251(a) makes it a federal offense for anyone to knowingly employ,

use,persuade,induce, entice, or coerce any minor to engagein sexually explicit conduct as defined

in 18 U.S.C. §§ 2256, for the purpose of producing a visual depiction of such conduct, or attempts

to do so.

             5    18 U.S.C. §§ 2252A(a)(5)(B)and (b)(2) prohibit a person from knowingly

possessingor knowingly accessingwith intent to view, or attempting or conspiring to do so, any

material that contains an image of child pornography, as defined in 18 U.S.C. § 2256(8), that has



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 Case 2:23-sw-00515-cgc Document 1-3 Filed 12/20/23 Page 3 of 17                      PageID 8



been maIled, or shrppe(1or transported usrng any means or lacrlrty ot rnterstate or foreIgn

commerceor in or affecting interstateor foreign commerceby any means,including by computer,

or that was produced using materials that have been mailed or shipped or transported in or affecting

interstateor foreign commerceby any means,including by computer.

                                         DEFINITIONS

       6       The following definitions applyto this affidavit and Attachment B:

           a. “Child erotica,” as used herein, means materials or items that are sexually

               arousing to persons having a sexual interest in minors but that are not necessarily

               obscene or do not necessarily depict minors in sexually explicit poses or

               posrtrons

           b. “Child pornography,“ as defined in 18 U.S.C. § 2256(8), is any visual depiction of

               sexually explicit conduct where (a) the production of the visual depiction

               involved the use of a minor engagedin sexually explicit conduct, (b) the visual

               depiction is a digital image, computer image, or computer-generated image that is,

               or is indistinguishablefrom, that of a minor engagedin sexuallyexplicit conduct,

              or (c) the visual depiction has been created, adapted, or modified to appear that an

              identifiable minor is engagedin sexuallyexplicit conduct.

           c. “Computer,“ as used herein, refers to “an electronic, magnetic, optical,

              electrochemical, or other high speeddata processing device performing logical or

              storage functions, and includes any data storage facility or communications

              facility directly relatedto or operatingin conjunctionwith suchdevice“ and

              includes smartphones,and mobile phones and devices. See 18 U.S.C. §

               1030(e)( 1).



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Case 2:23-sw-00515-cgc Document 1-3 Filed 12/20/23 Page 4 of 17                     PageID 9



       d. “Computer hardware,” as used herein, consists of all equipment that can receive,


            capture, collect, analyze, create, display, convert, store, conceal, or transmit

            electronic, magnetic, or similar computer impulses or data. Computer hardware

            includes any data-processing devices (including central processing units, internal

            and peripheral storagedevices such as fixed disks, external hard drives, floppy

            disk drives and diskettes, and other memory storage devices); peripheral

            input/output devices (including keyboards, printers, video display monitors, and

            related communications devices such as cables and connections); as well as any

            devices, mechanisms,or parts that can be used to restrict accessto computer

            hardware (including physical keys and locks).

       e.   The term "graphic," as usedin the definition of sexually explicit conduct

            contained in 18 U.S.C. § 2256(2)(B), is defined pursuant to 18 U.S.C. § 2256(10)

            to mean “that a viewer can observe any part of the genitals or pubic area of any

            depicted person or animal during any part of the time that the sexually explicit

            conduct is being depicted."

       f.   The “Internet” is a global network of computers and other electronic devices that

            communicate with each other. Due to the structure of the Internet, connections

            between devices on the Internet often cross state and international borders, even

            when the devices communicating with each other are in the same state.

       g.   “Internet Protocol address” or “IP address,” as used herein, refers to a unique

            number used by a computer or other digital device to accessthe Internet. IP

            addressescan be “dynamic,” meaning that the internet service provider (ISP)

            assigns a different unique number to a computer every time it accessesthe



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Case 2:23-sw-00515-cgc Document 1-3 Filed 12/20/23 Page 5 of 17                    PageID 10




            Internet. IP addressesmight also be “static,” if an ISP assigns a user’s computer a

            particular IP addressthat is used each time the computer accessesthe Internet.

       h.   “Internet Service Providers“ (“ISPs”), as used herein, are commercial

            organizations that are in business to provide individuals and businessesaccessto

            the Internet. ISPs provide a range of functions for their customers including

            accessto the Internet, web hosting, e-mail, remote storage, and co-location of

            computers and other communications equipment.

       1.   “Minor,” as defined in 18 U.S.C. § 2256(1), refers to any person under the age of

            eighteenyears.

       J.   “Records,” “documents,” and “materials,“ asused herein, include all information

            recorded in any form and by any means, whether in handmade, photographic,

            mechanical, electrical, electronic, or magnetic form.

       k. “Sexually explicit conduct,“ as defined in 18 U.S.C. § 2256(2), means actual or

            simulated (a) sexual intercourse, including genital-genital, oral-genital, anal-

            genital, or oral-anal, whether between persons of the sameor opposite sex; (b)

            bestiality; (c) masturbation; (d) sadistic or masochistic abuse;or (e) lascivious

            exhibition of the genitals or pubic area of any person.

       1    “Visual depiction,” as defined in 18 U.S.C. § 2256(5), includes undeveloped film

            and videotape, data stored on computer disc or other electronic means which is

            capable of conversion into a visual image, and data which is capable of

            conversion into a visual image that has been transmitted by any means, whether or

            not storedin a permanentformat.




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Case 2:23-sw-00515-cgc Document 1-3 Filed 12/20/23 Page 6 of 17                    PageID 11



 CHARACTERISTICS OF INDIVIDUALS WHO PRODUCE AND POSSESSCHILD
                                     PORNO(,RAPHY

  7. Based on my knowledge, training, and experience in child exploitation and child
     pornography investigations, and the experience and training of other law enforcement
     officers with whom I have had discussions,there are certain characteristics that are

     prevalent among individuals who are involved in the production and receipt of child
     pornography:

            a.      The majority of individuals who produce and possesschild pornography
         are persons who have a sexual attraction to children, and may engage in the sexual

         abuseof children or exchange and collect child pornography and child erotica to

        receive sexual gratification, stimulation, and satisfaction from contact with children;
        or from fantasiesthey may have viewing children engagedin sexualactivity or in
        sexually suggestive poses, such as in person, in photographs, or other visual media; or
        from literature and communications about such activity.

            b.      Individuals who produce and possesschild pornography may collect
        sexually explicit or suggestivematerials in a variety of media, including photographs,
        magazines,motion pictures, videos, drawings or other visual media. Not only do
        theseindividuals oftentimesuse thesematerials for their own sexual arousaland

        gratification, but they also may use these materials to lower the inhibitions of children

        they are attempting to seduce,to arouse the selectedchild partner, or to demonstrate
        the desiredsexualacts.

            c.      The majority of individuals who collect, receive and produce child
        pornographyoften seekout like-minded individuals, either in personor via the
        Internet, to share information and trade depictions of child pornography and child
        erotica as a meansof gaining status, trust, acceptance,and support. Individuals who

        collect and produce child pornography often correspond with and/or meet others to
        share information   and materials and often maintain lists of names, usernames,

        addresses,emails, and telephone numbers of individuals with whom they have been
        in contact and who share the sameinterests in child pornography and child sexual
        abuse


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 Case 2:23-sw-00515-cgc Document 1-3 Filed 12/20/23 Page 7 of 17                         PageID 12




                d.      Personscommitting these criminal acts, more likely than not, almost
            always possessand maintain their hard copy and/or digital medium collections of
            child pornographic and child erotica material in a secureand private environment.
            Due to the psychological support their collections provide, such individuals find
            comfort andjustification for their illicit behavior and desiresand rarely destroysuch
            materials. As such, these collections are often maintained for several years and are
            kept close by, usually in a location that is mobile and/or easily accessibleto the
            individual.

                e.      In some cases,people who have a sexual interest in children have been
            found to download, view, then delete child pornography on a cyclical and repetitive
            basis, and to regularly delete any communications about the sexual abuseof children

            rather than storing such evidence on their computers of digital devices. Traces of such
            activity can often be found on computersor digital devicesfor months or evenyears
            after any downloaded files have been deleted.

               f       Individuals that produce and possesschild pornography frequently prefer
            not to be without their child pornography for any prolonged time period, and more
            likely than not may go to great lengths to conceal and protect their collection of illicit
            materials from discovery, theft, and damage. This behavior has been documented by

            law enforcementofficers involved in child exploitation and pornography
            investigationsworldwide.

                   BACKGROUND OF INVESTIGATION AND PROBABLE CAUSE

       8.      On November 20, 2023, the FBI Memphis Child Exploitation and Human

Trafficking Task Force (CEHTTF) received a tip from the Tipton County Sheriffs Office (T(_'SO)

regarding allegations that a registered sex offender had taken nude images ofa13-year-old relative.

       9.      According to the TCSO, on or around 11/19/2023, Deputies respondedto complaint

in Covington, TN involving the sexual assault of a 13-year-old female by a relative. Deputies

identified the victim’s relative as Jarrod Sanford (Sanford), who was a registeredsex offender.

While on scene,the minor victim told the Deputies that Sanford had sexually assaultedher the day


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 Case 2:23-sw-00515-cgc Document 1-3 Filed 12/20/23 Page 8 of 17                      PageID 13




prior. The victim also provided Deputies with a cell phone that she advised belonged to Sanford9

who had given it to her when police arrived at the residence. Sanford told her that he did not want

the phone to be provided to law enforcement. Additionally, the minor told Deputiesthat she

believed Sanford had taken nude images of her utilizing the phone.

        10.    On November 20, 2023, a child forensic interview was conductedwith the minor

victim. During her interview, the victim disclosed she had been sexually assaultedby Sanford on

more than one occasion. The minor confirmed she told police that Sanford had taken nude images

of her and recalled an incident in which shecould hear a noise similar to that of a cell phone taking

a picture and recording a video. The minor further advised that this occurred while shewas being

sexually assaulted by Sanford and while he was holding her head down.

       11.     On November 20, 2023, a State of Tennesseesearch warrant was issued for a black

and silver in color Android cell phone, which was provided to TCSO Deputies and identified as

being used by Sanford to take nude images of the minor victim.

       12.     On November 20, 2023, your affiant confirmed with the U.S. Attorney’s Office and

the U.S. Probation Office that Jarrod Steven Sanford was on Federal Probation for life due to

sexual offenses and was not allowed to have any media devices that were not monitored by the

U.S. Probation Office

       13.     On November 2 1, 2023, a federal searchwarrant was executed on the Android cell

phone, which was identified as being utilized by Sanford to take nude images of the minor victim.

Pursuant a forensic examination of the device, images consistent with CSAM were observed. In

particular, your affiant observedwhat appearedto be imagesan unknown female performing oral

sex on an unknown male. Based on a comparison of a known image of the minor victim, it was

believed the unknown female and the minor victim were one and the same. Your affiant also



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 Case 2:23-sw-00515-cgc Document 1-3 Filed 12/20/23 Page 9 of 17                                    PageID 14




observed an image of what appeared to be an individual holding a cell phone, with a picture of

nude erect penis visible on the screen.

        14.    An analysis of the device also showed the phone was registered to Google utilizing

the email account ,jarrodsanford8 1@gmail.com. Associated with the Google account was a Google

Drive, which your affiant knows is Google’s cloud based storage service and can be used to store

and access documents, photos, and other files across all of a user’s Internet accessible devices.

Your affiant observed what appeared to be files within the “Recent“ section of the Google Drive,

with many of the files having names containing sexual referencesor being associatedwith female

names. Below are pictures of some of the file names observed on the device and associatedwith

the Google Drive:




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Case 2:23-sw-00515-cgc Document 1-3 Filed 12/20/23 Page 10 of 17                   PageID 15




        15.    On November 22, 2023, investigators interviewed an adult relative of the minor

victim. During the interview, the minor victim was positively identified as the unknown female

performing oral sex on an unknown male.

        16.    On November 22, 2023, a federal arrest warrant was issued for Sanford, who was

later detainedthat sameday by the U.S. Marshals. He was arrestedin his truck, and in the center

console of the truck the deputy marshals found a black in color Android cell phone, with the word

“BLU” displayed on the back. They seized the phone and identified it as belonging to Sanford.

Pursuant forensic examination of the device, an analysis of the device showed the BLU Android

phone was registered to the same Google account, associated with the email address

j arrodsanford81(@gmail.com,as the black and silver colored Android cell phone which contained

CSAM of the minor victim. Unlike with the previous phone,your affiant did not observefiles

within the “Recent” section of the Google Drive.

       17.     On November 27, 2023, the minor victim was forensically interviewed by a FBI

Child Adolescent Forensic Interviewer. During the interview, the minor victim was shown images

which were obtained from a forensic extraction of an Android cell phone, identified as belonging

to Sanford. The minor victim positively identified herself within the images and advised Sanford

had forced her to perform oral sex on him, in the living room of his residence. The minor victim

also disclosed being sexually assaultedby Sanford on numerous occasions, starting around when

she was approximately 12 years of age. The sexual assaultsoccurred within Sanford’s residence

in Covington, Tennessee.

       18.    On November 28, 2023, a State of Tennesseesearch warrant was issued to search

the residenceof Sanford, located at 2154 Bringle Rd, Covington, Tennessee38019, which was

identified by the minor victim as the place in which shewas sexually assaultedby Sanford. TCSO



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Case 2:23-sw-00515-cgc Document 1-3 Filed 12/20/23 Page 11 of 17                    PageID 16




Deputies identified and seizedmultiple additional electronic devices, some of which were believed

to have been unauthorized and against the terms of Sanford’s probation. Pursuant to a forensic

extraction of a Samsung Galaxy Tab, an analysis of the device showed it was registered to Google

utilizing the email account jarrod8 1sanford@gmail.com. Further analysis of the device showed it

belonged to Sanford and was most likely considered an “authorized” device which was being

monitored. As such, there was no CSAM observed; however, there were images of the minor

victim during the timeframe of the alleged criminal activity, which also appearedto have been

backed up to the cloud.

        19.    Basedon the forgoing factual information,your affiant submitsthere is probable

causeto believe that violations of 18 U.S.C. § 2251(a) and 18 U.S.C. §§ 2252A(a)(5)(B) and (b)(2)

have been committed, and evidence, instrumentalities and fruits of those violations are located on

the Googleaccountsfurtherdescribedin Attachments A and B of this affidavit.

                           INFORMATION REGARDING GOOGLE

       20.     Based on my knowledge and experience, I know that Google LLC (“Google”) is a

provider of an electronic communications service, as defined in 18 U.S.C. § 2510(15), and/or a

remote computing service, as defined in 18 U.S.C. § 2711(2), headquartered at 1600 Amphitheatre

Parkway, Mountain View, CA 94043. Google provides a variety of on-line services, including

cloud file storage,to the public. Google allows subscribers to obtain email accounts at the domain

name “gmail.com,” like the account listed in Attachment A. Subscribers obtain an account by

registering with Google. During the registration process, Google asks subscribers to provide basic

personal information; therefore, the computers and servers of Google are likely to contain stored

electronic communications (including retrieved and un-retrieved email for Google subscribers)

and information concerning subscribersand their use of Google services, such as account


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 Case 2:23-sw-00515-cgc Document 1-3 Filed 12/20/23 Page 12 of 17                       PageID 17



information, email transaction information, and account application information. In my training

and experience, such information may constitute evidence of the crimes under investigation

becausethe information can be used to identify the account’s user or users.

         15.     In addition, a Google subscriber can store on servers maintained or owned by

Google other files related or in addition to the email, such as contact lists, addressbooks, calendar

data, images and videos. Through training and experience, your Affiant is aware that evidence of

who was using a Google account can frequently be found in theserelated files.


        16.     In my training and experience, Internet Service Providers (ISP) generally ask their

subscribers to provide certain personal identifying information when registering for an account.

Such information can include the subscriber’s full name, physical address,telephone numbers and

other identifiers, alternative email addresses,and, for paying subscribers,means and source of

payment(including any credit or bank accountnumber). In my training and experience,such

information may constitute evidence of the crimes under investigation becausethe information can

be used to identify the account’s user or users. Based on my training and my experience, I know

that, even if subscribersinsert false information to conceal their identity, this information often

provides clues to their identity, location, or illicit activities.


        17.     ISP’s typically retain certain transactional information about the creation and use

of each account on their systems. This information can include the date on which the account was

created, the length of service, records of log-in V.e., session) times and durations, the types of

service utilized, the status of the account (including whether the account is inactive or closed), the

methods used to connect to the account (such as logging into the account via the provider’s

website), and other log files that reflect usageof the account. In addition, ISP often have records

of the Internet Protocol address (“IP address”) used to register the account and the IP addresses

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 Case 2:23-sw-00515-cgc Document 1-3 Filed 12/20/23 Page 13 of 17                                    PageID 18




associatedwith particular logins to the account. Becauseevery device that connects to the Internet

must use an IP address,IP addressinformation can help to identify which computersor other

devices were used to accessthe Google account.


         18.      In some cases, ISP account users will communicate directly with an ISP about

issues relating to the account, such as technical problems, billing inquiries, or complaints from

other users. ISP providers typically retain records about such communications, including records

of contacts between the user and the provider’s support services, as well as records of any actions

taken by the provider or user as a result of the communications. In my training and experience,

such information may constitute evidenceof the crimes under investigationbecausethe

information can be usedto identify the account’s user or users.


         19.      This application seeksa warrant to search all responsiverecords and information

under the control of Google, a provider subject to the jurisdiction of this court, regardlessof where

Google has chosen to store such information. The government intends to require the disclosure

pursuant to the requestedwarrant of the contents of wire or electronic communications and any

records or other information pertaining to the customers or subscribers if such communication,

record,or otherinformationis within Google’spossession,
                                                     custody,or control,regardless
                                                                                 of

whether such communication, record, or other information is stored, held, or maintained outside

the United States.1




1 it is possible that Google stores some portion of the information sought outside of the United States.Under the
Clarifying Lawful Overseas Use of Data Act ("CLOUD Act") the Stored Communications Act was amended to
require that communications providers in the United States respond to legal process and return relevant data
regardless of the location of the servers containing the data.

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Case 2:23-sw-00515-cgc Document 1-3 Filed 12/20/23 Page 14 of 17                     PageID 19



                BACKGROUNDON CHILD EXPLOITATION MATERIAL


       20.     Your Affiant, through training and experience,is awarethat individuals who have

an interest in possessingand sharing visual depictions of minors engaging in sexually explicit

conduct (“child pornography”) frequently maintain collections of images they have obtained, often

for time periods of several years and longer. Digital storage options are numerous, and the storage

capacity has increased, allowing for the concealment and maintenance of collections of images.

Furthermore, mobile devices allow for easy access to accounts, such as email, that are stored on

remote servers,making it easy for collectors to conceal their interest in child exploitation from

friends, co-workers, and family memberswhile simultaneouslyallowing ease of access. In

addition, the declining cost of digital storage devices facilitates the maintenanceof ever larger

collections. Your affiant is alsoaware,through training andexperience,that digital storagedevices

have become interconnected, making it easy for even casual usersof technology to transfer or copy

images from one device to another, or to maintain duplicate copies on more than one device or

storage medium. In fact, many devices such as smartphones can be set to automatically back up

their contents to alternate storage facilities, such as laptop or desktop computers, another phone,

photo-sharing websites, and cloud storage providers. Individuals that produce and collect child

pornography, more likely than not, useonline resources such as companies that provide electronic

communication and “cloud based” services to retrieve and store child pornography and child

erotica. Electronic communicationservice providers, such as Gmail, Apple, Microsoft, and

Dropbox among others, can be utilized for online storage which can be accessedfrom any Internet

connecteddevice, such as a computer or mobile phone. Even in caseswhen online storageis used,

evidence of child pornography can be found on the user’s electronic devices in most cases.




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Case 2:23-sw-00515-cgc Document 1-3 Filed 12/20/23 Page 15 of 17                        PageID 20



                                              JURISDICTION

         21.     This Court hasjurisdiction to issuethe requestedwarrant becauseit is “a court of

competentjurisdiction” as defined by 18 U.S.C. § 2711, 18 U.S.C. §§ 2703(a), (b)(1)(A), &

(c)(1)(A). Specifically, the Court is “a district court of the United States. . . that hasjurisdiction

over the offense being investigated.” 18 U.S.C. § 2711 (3)(A)(i).

                                              CONCLUSION

         22.    1 believe that based upon the totality of facts and circumstances described above,

probable cause for evidence and instrumentalities of and concerning violations of 18 U.S.C. §

2251(a) and 18 U.S.C. §§ 2252A(a)(5)(B)       and (b)(2) to be located within the Google accounts

jarrodsanford81(@gmail.com and jarrod81sanford(g)gmail.com listed in Attachment B of this

affidavit, which is incorporated by reference as if fully set forth herein, and is believed to be

contained on servers and digital storage media maintained by and under the control of Google,

Inc., 1600 Amphitheatre Parkway, Mountain View, California, 94043. Your affiant requests

authority to search for and seizesuch material

   23.          This application seeksa warrant to search all responsiverecords and information

         under the control of Google, a provider subject to the jurisdiction of this court, regardless

         of where Google has chosen to store such information. The government intends to require

         the disclosurepursuantto the requestedwarrant of the contents of wire or electronic

         communicationsand any records or other information pertaining to the customersor

         subscribersif such communication,record, or other information is within Google’s

         possession,custody, or control, regardlessof whether such communication, record, or other

         information is stored, held, or maintained outside the United States




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Case 2:23-sw-00515-cgc Document 1-3 Filed 12/20/23 Page 16 of 17                         PageID 21



  24.           Your affiant is aware that many providers of digital services, such as email

        accounts, have staff members who work shifts other than traditional business hours. Such

        staff members may at times be responsible for compiling materials responsive to search

        warrants. Therefore, your affiant requeststhat this warrant be executable at any time of

        the day or night, as that may be more convenient for the responding party.


  25.           Pursuant to 18 U.S.C. § 2703(g), the presence of a law enforcement officer is not

        required for the service or execution of this warrant.


  26.           This is an ongoing investigation. Due to the volatile nature of digital data, your

        affiant is aware that if notified of the existence of a searchwarrant, many individuals will

        take stepsto delete other materialsthat may have evidentiary value pertaining to the

        criminal violationsdescribedherein. Therefore,your affiant requeststhis Court alsoissue

        an order to Google that precludesGoogle from notifying the subscriberof the accounts

        jamodsanford81(@gmail.com and jarrod81sanford@gmail.com            that a search warrant has

        beenauthorized or that an investigation is underway. Your affiant is also awarethat closing

        an account can indicate to a subscriber that the subscriber is under investigation. Therefore,

        your affiant further requeststhat this Court order Google to refrain from unilaterally closing

        the accounts referenced herein to preserve the integrity of the investigation and prevent

        destruction of potential evidence.




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Case 2:23-sw-00515-cgc Document 1-3 Filed 12/20/23 Page 17 of 17                       PageID 22



   27.           In consideration of the foregoing, your affiant respectfully requeststhat this Court

         issuea searchwarrant authorizing the examination, analysis and review of the devices more

         specifically describedin Attachment A, authorizing the searchand seizure of the items

         describedin Attachment B, incorporatedherein.


                AND FURTHER,AFFIANT SAITHNOT.

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                                                                      Keyotta Sanford - AFFIANT
                                                                                     SpecialAgent,
                                                                    Federal Bureau of Investigation.




       Al-testedto by the applicant in accordancewith the requirements of Fed. R. Cdm. P. 41 by
telephone, this 20th day of December, 2023 .




         HON.CHARMIANEG. CLAXTON
         United StatesMagistrate Judge




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